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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                    COLUMBIA DIVISION

 Mother Doe, Individually and as the Mother )             C.A. No.: 3:18-cv-02731-CMC
 and Natural Guardian for Jane Doe, a Minor, )
                                                  )
           Plaintiff,                             )
                                                  )      FRCP RULE 26(a)(3) PRETRIAL
 v.                                               )      DISCLOSURES ON BEHALF OF
                                                  )       DEFENDANT SHERIFF LOTT
 Richland County School District Two, Sheriff )
 of Richland County in his official capacity, and )
 Jamel Bradley,                                   )
                                                  )
           Defendants.                            )
                                                  )


       Pursuant to Rule 26(a)(3), the Defendant Sheriff in his official capacity hereby provides

the following:

       1.        The name and, if not previously provided, the address and telephone number

of each witness -- separately identifying those the party expects to present and those it may

call if the need arises.

       RESPONSE

       This Defendant anticipates presenting the following witnesses in his case-in-
       chief:

                 (a)   Sheriff Leon Lott
                       Richland County Sheriff’s Department (“RCSD”)
                       5623 Two Notch Road
                       Columbia, South Carolina 29202
                       (803) 576-3000

                 (b)   John Ewing
                       Richland County Sheriff’s Department
                       5623 Two Notch Road
                       Columbia, South Carolina 29202
                       (803) 576-3000

       This Defendant anticipates calling the following witnesses in his case-in-chief if
       the need arises:



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       (a)   Jamel Bradley
             303 Ashley Place
             Columbia, South Carolina 29229
             (803) 319-7608

       (b)   Kathryn Campbell Hubbird
             Fifth Circuit Solicitor's Office
             Post Office Box 192
             Columbia, South Carolina 29202
             (803) 576-1800

       (c)   Bonita Cunningham
             Moncrief Army Health Clinic
             4500 Stuart Street
             Columbia, South Carolina 29207
             (803) 562-2106

       (d)   Mia Davidian, M.D.
             Moncrief Army Health Clinic
             4500 Stuart Street
             Columbia, South Carolina 29207
             (803) 562-2106

       (e)   Dr. Baron Davis
             Richland School District Two
             763 Fashion Drive
             Columbia, South Carolina 29229
             (803) 787-1910

       (f)   Mother Doe
             c/o Plaintiff’s counsel

       (g)   Jane Doe
             c/o Plaintiff’s counsel

       (h)   Martha Fenske
             1401 Hampton St.,
             Columbia, South Carolina 29201
             (972) 615- 2596

       (i)   Allison M. Foster, PhD
             Metropolitan Children’s Advocacy Center
             3710 Landmark Drive, Suite 300
             Columbia, South Carolina 29204
             (803) 898-1470

       (j)   Brian Godfrey
             Richland County Sheriff’s Department
             5623 Two Notch Road

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             Columbia, South Carolina 29202
             (803) 576-3000

       (k)   Heidi Jackson
             Richland County Sheriff’s Department
             5623 Two Notch Road
             Columbia, South Carolina 29202
             (803) 576-3000

       (l)   Keenan Johnson
             Richland County Sheriff’s Department
             5623 Two Notch Road
             Columbia, South Carolina 29202
             (803) 576-3000

       (m)   Briana Kramer
             Richland County Sheriff’s Department
             5623 Two Notch Road
             Columbia, South Carolina 29202
             (803) 576-3000

       (n)   Chris Lindler
             Richland County Sheriff’s Department
             5623 Two Notch Road
             Columbia, South Carolina 29202
             (803) 576-3000

       (o)   Jade Louallen
             Address and phone number unknown

       (p)   Larry Payne
             Richland County Sheriff’s Department
             5623 Two Notch Road
             Columbia, South Carolina 29202
             (803) 576-3000

       (q)   April Shell
             Summit Parkway Middle School
             200 Summit Parkway
             Columbia, South Carolina 29229
             (803) 699-3580

       (r)   Stan Smith
             Richland County Sheriff’s Department
             5623 Two Notch Road
             Columbia, South Carolina 29202
             (803) 576-3000




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              (s)     “Target student”
                      c/o Taylor Bell, Esq.

              (t)     Jeff Temoney
                      Spring Valley High School
                      120 Sparkleberry Lane
                      Columbia, South Carolina 29229
                                       __________

       In addition to the above-named witnesses, the Defendant Sheriff reserves the
       right to present any witness identified or listed by any other party. Additionally,
       to the extent necessary, this Defendant reserves the right to present a record
       custodian to authenticate records.

       2.     The designation of those witnesses whose testimony the party expects to

present by deposition and, if not taken stenographically, a transcript of the pertinent parts of

the deposition.

       RESPONSE

       Reserving all rights pursuant to Rule 32, Fed. R. Civ. P., the Defendant Sheriff
       expects to presesent its witnesses for live testimony.

       3.     An identification of each document or other exhibit, including summaries of

other evidence -- separately identifying those items the party expects to offer and those it

may offer if the need arises.

       RESPONSE

       This Defendant anticipates presenting the following exhibits in his case-in-
       chief:

       (a)    RCSD Body Worn Camera (BWC) videos dated April 17, 2018 by Deputies
              Keenan Johnson and Briana Kramer

       (b)    Forensic Interview videos of Jane Doe with Allison M. Foster, Ph.D dated
              April 18, 2020 and April 18, 2020

       (c)    RCSD SRO Evaluation Forms, 2014-17 [Dkt 132-4]

       (d)    Moncrief Army Health Clinic patient records for Jane Doe

       (e)    E-mail communications between Jane Doe and Bradley (February 2017
              through March 2018)



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      This Defendant anticipates presenting the following exhibits in his case-in-chief
      if the need arises:

      (a)      Bradley personnel file [00432-A-001 through 00432-A-139]

      (b)      Bradley previous IA history [00432-B-001 through 00432-B-039]

      (c)      Bradley 2018 IA file [00432-C-001 through 00432-C-016]

      (d)      Criminal Investigation Records [00432-D-001 through 00432-D-061]
                                       __________

      Should the need arise and to the extent admissible, this Defendant reserves the
      right to offer any exhibit listed by any party in their respective pretrial
      disclosures.

                                  CROWE LAFAVE, LLC


                                  BY:    s/ Robert D. Garfield
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                                  Counsel for the Defendant
                                  Sheriff Lott in his official capacity

Columbia, South Carolina

May 18, 2020




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